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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION



KRS PROPERTIES, LLC AND WEST  §
WHARTON HOSPITAL DISTRICT     §
                              §
V.                            §                       CASE NO. 4:24-CV-00337
                              §
UNITED STATES DEPARTMENT OF §
HEALTH & HUMAN SERVICES,      §
CENTERS FOR MEDICARE &        §
MEDICAID SERVICES, THROUGH    §
ITS SECRETARY, XAVIER BECERRA §

    REQUEST FOR EMERGENCY HEARING ON PLAINTIFF’S ORIGINAL
COMPLAINT AND APPLICATION FOR INJUNCTION AND RESTRAINING ORDER

TO THE HONORABLE COURT:

       Plaintiffs, KRS Properties, LLC (“KRS”) and West Wharton Hospital District (“WWHD”),

file their Request for Emergency Hearing on Plaintiff’s Application for Temporary Restraining

Order, which was electronically filed with the court earlier today, April 17, 2024.

       Plaintiffs request that a hearing be set on this motion at the court’s earliest opportunity as

the nursing home in question’s Medicare and Medicaid provider agreement, which is the subject

of the TRO request, is set to terminate tomorrow, April 18, 2024. Plaintiffs only request at least a

4-hour notice prior to the hearing, as two of the undersigned counsel are located in Austin, Texas

and will need time to travel to appear before the court.

                                                      Respectfully submitted,

                                                      BEST & SPRUILL, P.C.


                                                      ____/s/ Allison L. Spruill_________
                                                      ALLISON L. SPRUILL
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                                      WHARTON HOSPITAL DISTRICT
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            CERTIFICATE OF CONFERENCE AND ATTEMPTED NOTICE

        I hereby certify that pursuant to Fed. R. Civ. P. 65(b)(1)(B), Plaintiffs have attempted to
reach resolution with CMS regarding this matter without court intervention. Specifically, on April
11, 2024 there were two conference calls with 17 individuals representing all parties in which the
matters contained in this pleading were discussed. No resolution was achieved, and on 4/12/24,
Counsel for HHS notified the undersigned counsel that no agreement would be reached. Counsel
for CMS/HHS are being provided courtesy copies of this pleading at the time it is filed, although
KRS and WWHD do not know whether the lawyers with whom they have been dealing are the
lawyers who will represent CMS/HHS in this proceeding. CMS/HHS Counsel were advised on
4/11/24 that injunctive relief could be sought if a resolution was not reached.


                                                     ____/s/ Allison L. Spruill_________
                                                     ALLISON L. SPRUILL


                                CERTIFICATE OF SERVICE


       I certify that a true and correct courtesy copy of this pleading was served in accordance
with the Federal Rules of Civil Procedure via electronic mail on this 17th day of April, 2024, as
follows (even though Plaintiffs do not know whether counsel listed below will represent
HHS/CMS in this proceeding):


Whitney Tharpe (U.S. Attorney’s office)
Counsel for HHS/CMS

                                                     ____/s/ Allison L. Spruill_________
                                                     ALLISON L. SPRUILL
